                          Case 1:18-cr-00109-SM Document 30 Filed 05/15/19 Page 1 of 7
A0 245B       Judgment in aCriminal Case
NHDC2/I8      Sheet 1



                                           United States District Court
                                                            District ofNew Hampshire

             UNITED STATES OF AMERICA                                             JUDGMENT IN A                                          2q

                            Ken D. Ma,                                            CaseNumber:            18-cr-109-01-SM
                        a/k/a Kenneth Ma,
                        a/k/a Ken Duo Ma                                          USM Number: 16073-049

                                                                                  James D. Rosenberg, Esq.
                                                                                  Defendant's Attorney
THE DEFENDANT:

^pleaded guilty to count            1 of the Indictment
□ pleaded nolo contendere to coiint(s)
  which was accepted by the court.
□was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these oftenses:

Title & Section                  Nature of Offense                                                            Offense Ended            Count

18U.S.C.§1952                     Travel Act                                                                   11/7/2015




       Ibe oetendant is sentenced as provided in pages 1 through' ' '          'f """ of this judgment. ' The sentence is impbseS^p^ljMt to
the Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on count(s)
□ Count(s)                                              □ is      □ are dismissed on the motion of the United States.

□ Count(s)

         It is ordered that the defendant must notify the United Slates attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                          5/f^2019
                                                                          Date of [mposition of Judgment



                                                                          >i^^ure of Judge

                                                                         Steven J. McAuliffe U.S. District Judge
                                                                         Name and Title of Judge
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AO 245B             Judgment in Criminal Case
NHDC2/18            Sheet 2—Imprisonment

                                                                                                   Judgment— Page          of

DEFENDANT: Ken D. Ma, a/k/a Kenneth Ma, a/k/a Ken Due Ma
CASE NXJMBER: 18-cr-109-01-SM


                                                          IMPRISONMENT

          The defendant is hereby committed to the custody ofthe Federal Bureau ofPrisons to be imprisoned for a total term of:
 Four(4) months.




     □ The court makes the following recommendations to the Bureau of Prisons:




     0 The defendant is remanded to the custody of the United States Marshal.
     □ The defendant shall surrender to the United States Marshal for this district;

         □ at                                   □ a.m.      □ p.m.       on
         □ as notified by the United States Marshal.

     □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         □ before 2 p.m. on

         □ as notified by the United States Marshal.
         □ as notified by the Probation or Pretrial Services Office.


                                                              RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to


at                                                , with a certified copy of this judgment



                                                                                                 UNITED STATES MARSHAL



                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
                          Case 1:18-cr-00109-SM Document 30 Filed 05/15/19 Page 3 of 7
AO 24SB          Judgment in a Criminal Case
NHDC 2/18        Sheet 3 — Supervised Release
                                                                                                    Judgment—Page            of

DEFENDANT: Ken D. Ma, a/k/a Kenneth Ma, a/k/a Ken Due Ma
CASE NUMBER: 18-cr-109-01-SM
                                                     SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a tenn of:
 Three(3)years.




                                                         MANDATORY CONDITIONS

  1.   You must not commit another federal, state or local crime.
  2.   You must not unlawfully possess a controlled substance.
  3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
       imprisomnent and at least two periodic drug tests thereafter, as determined by the court.
                      yf The above drug testing condition is suspended, based on the court's determination that you pose
                           a low risk offuture substance abuse.(CkecK ifapplicabk.)
  4 Q You must make restitution in accordance with 18 U.S.C. §§ 3363 and 3663A or any other statute authorizing a sentence of
            restitution.(Check, ifapplicable.)

  5. a" You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
  6. D You must comply with the requirements ofthe Sex Offender Registration and Notification Act(34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which you reside, work,
            are a student, or were convicted of a qualifying offense.(Check, ifapplicable.)
  7. Q You must participate in an approved program for domestic violence.(Check, ifapplicable.)

  You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
   page.
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AO 24SB    Judgment in a Criminal Case
NHDC2/I8 Sheet 3A — Supervised Release
                                                                                                       Judgment—Page             of
DEFENDANT: Ken D. Ma, a/k/a Kenneth Ma,a/k/a Ken Due Ma
CASE NUMBER: 18-cr-109-01-SM


                                     STANDARD CONDITIONS OF SUPERVISION


As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimiun tools needed by probation
officers to keep informed,report to the court about,and bring about improvements in your conduct and condition.

1      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.

2.     After initially reporting to the probation office, you will receive instructions from the coiut or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federaljudicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. Ifyou plan to change where you live or anything about your living
       arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change.If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7.     You must work full time(at least 30 hours per week)at a lawful fype ofemployment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must tiy to find full-time employment,imless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work(such as your position or yoiurjob
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware ofa change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly conununicate or interact with that person without first getting the permission ofthe
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own,possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
       was designed,or was modified for,the specific purpose ofcausing bodily injuiy or death to another person such as nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission ofthe court
 12.   If the probation officer determines that you pose a risk to another person (including an orgmization), the mobation officer may
                                                                                                                  ficer may contact the
       require you to notify the person about the ri% and you must comply with that instruction. The probation offic
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions ofthe probation officer related to the conditions of supervision.

 U.S.Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis jui^ment
containing these conditions.I imderstand additional information regarding these conditions is available at the www.uscourts.gov.


 Defendant's Signature.                                                                               Date
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AO 24SB   Judgment in a Criminal Case
NHDC 2/18 Sheet 3B — Supervised Release
                                                                                             Judgment—^Page        of          l_
DEFENDANT: Ken D. Ma, a/k/a Kenneth Ma, a/k/a Ken Due Ma
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                         ADDITIONAL SUPERVISED RELEASE TERMS
 1. You must provide the probation officer with access to any requested financial information and authorize the release of
 any financial information. The probation office may share financial information with the Financial Litigation Unit of the U.S.
 Attomey's Office.

 2. You must not incur new credit charges, or open additionai lines of credit without the approval of the probation officer.
 3. If the judgment imposes a financial penally, you must pay the financial penalty in accordance with the Schedule of
 Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that might
 affect the ability to pay this financial penalty.

 4. You are prohibited from working in the bodywork, massage, beauty/spa, therapeutic, or similar services absent prior
  permission of the probation officer.
                         Case 1:18-cr-00109-SM Document 30 Filed 05/15/19 Page 6 of 7
AO 245B       Judgment in a Criminal Case
              Sheet 5 —Criminal Monetary Penalties
                                                                                                  Judgment—Page
DEFENDANT: Ken D. Ma, a/k/a Kenneth Ma, a/k/a Ken Due Ma
CASENUMBER: 18-cr-109-01-SM
                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the total ciiminal monetaty penalties under the schedule of payments on Sheet 6.

                     Assessment                      JVTA Assessment *                                              Restitution
TOTALS           S 100.00



□    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case(A024SC) will be entered
     after such determination.


□ The defendant must make restitution (including community restitution) to the following payees in the amount listed below,

     Ifthe defendant makes a partial payment, each payee shall receive an approximately prop^ortioned payment, imless specified otheiwise jn
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfedcral victims must be paid
     before the United States is paid.

Name of Payee                                                    Total Loss**             Restitution Ordered       Priority or Percentage




 TOTALS



 □    Restitution amount ordered pursuant to plea agreement S

 □    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0- All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 □    The court determined that the defendant does not have the ability to pay interest and it is ordered that;
      □ the interest requirement is waived for the           □ fine     □ restitution.

      □ the interest requirement for the         □    fine    □ restitution is modified as follows:


 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B             Judgment in a Criminal Case
NHDC2/18            Sbeet6 — Schedule ofPayments
                                                                                                            Judgment—Page               of

DEFENDANT:                               Kenneth Ma, a/k/a Ken Due Ma
CASE NUMBER: 18-cr-109-01-SM


                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A ^ Lump sum payment ofS 100.00                              due immediately, balance due
           □    not later than                                    .or
           □    in accordance         □ C,       DO,         □     E, or     DP below; or

B    □     Payment to begin immediately (may be combined with              □ C,        □ D, or      □ F below); or

C    □     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of S                             over a period of
                         (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

D    □     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of S                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    □ Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

     □     Special instructions regarding the payment of criminal monetary penalties:




Personal checks are not accepted.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
□    Joint and Several

     Defendant and Co-Defendant Names and Case Niunbers (including defendant number). Total Amount, Joint and Several Amoiuit,
     and corresponding payee, if appropriate.




□    The defendant shall pay the cost of prosecution.

□    The defendant shall pay the following court cost(s):

^ The defendant shall forfeit the defendant's interest in the following property to the United States:
      (A) $8,440.00 in U.S. Currency; (B) $26,710.00 in U.S. Currency; (C) $8,380.00 in U.S. Currency; (D) $43,258.83 in
      U.S. Currency; (E) $14,000.00 in U.S. Currency; (F) $11,800.00 in U.S. Currency; (G) $61,378.39 in U.S. Currency; (H)
      $12,500 in U.S. Currency; and (I) Land and Buildings located at 64 Westville Road, Plaistow, New Hampshire
Payments shall be applied in the followingorder: (!) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (S) fine
interest, (6) community restitution, (7) JvTA assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
